                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION



UNITED STATES OF AMERICA                  )
                                          )
v.                                        )       NO. 3:13-00065
                                          )
TERRY DUANE JORDAN                        )



                                        ORDER

     The defendant’s motion to allow him to change residence (Docket Entry No. 110) is

GRANTED.

     The defendant shall be permitted to move to the address listed in the motion.

     It is so ORDERED.




                                          JULIET GRIFFIN
                                          United States Magistrate Judge




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